Case: 4:12-cv-01642-AGF Doc. #: 4 Filed: 09/13/12 Page: 1 of 4 PageID #: 17
  Case: 4:12-cv-01642 Doc. #: 1-1 Filed: 09/13/12 Page: 4 of 7 PageID #: 7
Case: 4:12-cv-01642-AGF Doc. #: 4 Filed: 09/13/12 Page: 2 of 4 PageID #: 18
  Case: 4:12-cv-01642 Doc. #: 1-1 Filed: 09/13/12 Page: 5 of 7 PageID #: 8
Case: 4:12-cv-01642-AGF Doc. #: 4 Filed: 09/13/12 Page: 3 of 4 PageID #: 19
  Case: 4:12-cv-01642 Doc. #: 1-1 Filed: 09/13/12 Page: 6 of 7 PageID #: 9
Case: 4:12-cv-01642-AGF Doc. #: 4 Filed: 09/13/12 Page: 4 of 4 PageID #: 20
 Case: 4:12-cv-01642 Doc. #: 1-1 Filed: 09/13/12 Page: 7 of 7 PageID #: 10
